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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


Criminal Case No. 18-cr-138-RM

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1. CLINTON WHITE,

       Defendant.


                                    INDICTMENT
                                  18 U.S.C. § 111(a)(1)
                               Assault of a Federal Officer


       The Grand Jury charges:

                                        COUNT 1
                                   18 U.S.C. § 111(a)(1)

       On or about February 27, 2018, in the State and District of Colorado, the

defendant, CLINTON WHITE, did forcibly assault, resist, oppose, impede, intimidate,

and interfere with G.C., an officer and employee of the United States and of an agency in

a branch of the United States Government while that person was engaged in and on

account of the performance of their official duties, resulting in actual physical contact

with G.C.; in violation of Title 18, United States Code, Section 111(a)(1).
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                                    A TRUE BILL:


                                    “Ink signature on file in Clerk’s Office”
                                    FOREPERSON

ROBERT C. TROYER
United States Attorney


s/ Timothy D. Edmonds
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